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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

    SECURITIES AND EXCHANGE
    COMMISSION,
                                                                21 Civ. 5350 (PKC)
                               Plaintiff,

                  -against-

    RICHARD XIA, a/k/a YI XIA; and
    FLEET NEW YORK METROPOLITAN
    REGIONAL CENTER, LLC, f/k/a FEDERAL
    NEW YORK METROPOLITAN REGIONAL
                                                                  NOTICE OF MOTION
    CENTER, LLC;

                               Defendants,

                  -and-

    JULIA YUE, a/k/a JIQING YUE, XI VERFENSTEIN,
    and XINMING YU,

                               Relief Defendants.


         PLEASE TAKE NOTICE that upon the accompanying Motion and Declaration of M.

  Scott Peeler and all accompanying exhibits attached thereto, that the Court-appointed Monitor will

  move this Court at the request of lender, Emerald Creek Capital 3, LLC (“Emerald Creek”), before

  the Honorable Pamela K. Chen, United States District Judge for the Eastern District of New York,

  at the United States Courthouse located at 225 Cadman Plaza East, Brooklyn, NY 11201, on a date

  and time to be determined by the Court, for an Order seeking the Court’s authorization to release

  certain non-investor funds Emerald Creek is holding in reserve (“Interest Reserve”) and apply the

  Interest Reserve to satisfy interest payments due from and X&Y Development Group under a loan

  agreement.




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         Both the SEC and the Defendants are aware of and consent to the request for authorization

  to release certain funds to Emerald Creek.



   Dated: October 18, 2022                           Respectfully submitted,

                                                     ARENTFOX SCHIFF LLP



                                                     By: s/M. Scott Peeler
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                                                        Court Appointed Monitor




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